Case 5:18-cv-00324-PGB-PRL Document 60 Filed 11/19/18 Page 1 of 1 PageID 504



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION


MARY BETH HEINERT and RICHARD
H SCHULTZ, JR. ,

                       Plaintiffs,

v.                                                  Case No: 5:18-cv-324-Oc-40PRL

BANK OF AMERICA, N.A., PERRY
SANTILLO, CHRISTOPHER PARRIS,
PAUL ANTHONY LAROCCO, JOHN
PICCARRETO and THOMAS
BRENNER,

                       Defendants.
                                       /

                                       ORDER

      Defendant Bank of America, N.A.’s Motion to Dismiss the Plaintiffs’ Amended

Complaint (Doc. 50), filed October 26, 2018, in this case is hereby referred to the

Magistrate Judge for ruling, or if necessary, issuance of a Report and Recommendation.

      DONE AND ORDERED in Orlando, Florida on November 19, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties
